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               IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF SOUTH CAROLINA
                        ROCK HILL DIVISION

Philerial Holmes, Terrell Holmes,       )      C/A No.: 0:20-172-MGL-SVH
both individually and as Next           )
Friends and Guardians ad Litem of       )
and for Child One, Child Two and
                                        )
Child Three, the three biological
                                        )
minor children of Plaintiffs
                                        )
Philerial Holmes and Terrell
                                        )
Holmes,
                                        )
                                                         ORDER
                                        )
                  Plaintiffs,
                                        )
                                        )
      vs.
                                        )
                                        )
Evan Robert Hawthorne, Sheriff
                                        )
Alex “Big A” Underwood, Sheriff
                                        )
Max Dorsey, in their
                                        )
official/representative capacities as
                                        )
the Sheriff(s) of Chester County,
                                        )
Chester County Sheriff’s Office
                                        )
and Chester County,
                                        )
                                        )
                  Defendants.
                                        )

     This action was filed by Plaintiffs in the Chester County Court of

Common Pleas on October 18, 2019, and was transferred to the District of

South Carolina on January 17, 2020. Pursuant to the scheduling order

entered by the court, discovery was to be completed by August 21, 2020, with

dispositive motions, if any, to be filed by no later than September 8, 2020.

[ECF No. 7]. These deadlines have now expired.
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         Because the discovery deadlines in this case have passed and no

dispositive motions were filed, this case is ready for trial.     The Clerk is

hereby directed to forward the file to the United States District Judge for

trial.

         IT IS SO ORDERED.



October 16, 2020                           Shiva V. Hodges
Columbia, South Carolina                   United States Magistrate Judge




                                       2
